                             UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION-DETROIT
IN RE:
      Thomas Zeiger                                                        Chapter 13
                                                                           Case No. 18-54320
                                                                           Judge Marci B. McIvor
     Debtor
________________________/
                                      ORDER CONFIRMING PLAN

         The Debtor's Chapter 13 plan was duly served on all parties in interest. A hearing on confirmation
of the plan was held after due notice to parties in interest. Objections, if any, have been resolved. The
Court hereby finds that each of the requirements for confirmation of a Chapter 13 plan pursuant to 11 U.S.C.
§1325(a) are met.
         Therefore, IT IS HEREBY ORDERED that the Debtor's Chapter 13 plan, as last modified, if at all,
is confirmed.
         IT IS FURTHER ORDERED that the claim of attorney for the Debtor, for the allowance of
compensation and reimbursement of expenses is allowed in the total amount of $3,500.00 in fees and $0.00
in expenses, and that the portion of such claim which has not already been paid, to-wit: $ 3,500.00 shall be
paid by the Trustee as an administrative expense of this case.
         IT IS FURTHER ORDERED that the Debtor shall maintain all policies of insurance on all property
of the Debtor and this estate as required by law and contract.
         All filed claims to which an objection has not been filed are deemed allowed pursuant to 11 U.S.C.
§502(a), and the Trustee is therefore ORDERED to make distributions on these claims pursuant to the terms
of the Chapter 13 plan, as well as all fees due the Clerk pursuant to statute.
         IT IS FURTHER ORDERED as follows: [Only provisions checked below apply]

 APPROVED:                              Objections Withdrawn:                  APPROVED:
 /s/ Thomas D. DeCarlo attorney for     _________________________              /s/ Jared L. Haddock__
 DAVID WM. RUSKIN (P26803)              For Creditor:                          Jared L. Haddock (P69802)
 Chapter 13 Standing Trustee                                                   Attorney for Debtor(s)




Signed on March 13, 2019




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